Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 1 of 14 Page ID #:42




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  6
      Bryan Estrada

  7
                             UNITED STATES DISTRICT COURT
  8
                            CENTRAL DISTRICT OF CALIFORNIA
  9

 10   Bryan Estrada,                                   Case No.
 11                                                    5:20−cv−01286−RSWL (SPx)
                       Plaintiff,
 12

 13
                                                       FIRST AMENDED
                       v.                              COMPLAINT
 14

 15   Ralph A Allen; Allen Auto Glass & Tint
      and Does 1-10, inclusive,
 16

 17                    Defendants.
 18

 19         Plaintiff, Bryan Estrada, hereby complains and alleges as follows:
 20

 21                                 NATURE OF THE ACTION
 22                1. This is an action seeking to remedy unlawful discrimination by
 23   the Defendants against the Plaintiff in the Defendants’ places of public
 24   accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
 25
      12101, et seq.] (the “ADA”).
 26

 27

 28                                             -1-
 29
                                      FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 2 of 14 Page ID #:43




  1
                                            PARTIES

  2                2. Plaintiff, Bryan Estrada, is a resident of the state of California
  3   who requires the use of a wheelchair for mobility purposes and who is therefore a
  4   “person with a disability” within the meaning of the ADA and Cal. Government
  5   Code § 12926.
  6                3. The Defendants (defined below) discriminated against
  7
      Plaintiff in the full and equal enjoyment of the goods, services, facilities,
  8
      privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
  9
      the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
 10
      12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
 11
                   4. The Defendant’s failure to make reasonable modifications in
 12
      policies, practices, or procedures when such modifications are necessary to afford
 13

 14
      goods, services, facilities, privileges, advantages, or accommodations to

 15   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
 16   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
 17   12182(b)(2)(A)(ii)].
 18                5. Defendant, Ralph A Allen, owns, operates, or leases
 19   real property located at 125 N Yale St, Hemet, CA 92544, also known as Riverside
 20   County Assessor’s Parcel No. 445-232-021(the “Subject Property”).
 21
                   6. Defendant, Allen Auto Glass & Tint, owns, operates, or leases
 22
      real property located at 125 N Yale St, Hemet, CA 92544, also known as Riverside
 23
      County Assessor’s Parcel No. 445-232-021(the “Subject Property”).
 24
                   7. The Subject Property is a commercial facility open to the general
 25
      public, is a public accommodation, and is a business establishment insofar as
 26
      goods and/or services are made available to the general public thereat. Defendant
 27

 28                                            -2-
 29
                                     FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 3 of 14 Page ID #:44




  1
      Does 1 through 10, inclusive, are sued herein under fictitious names. Their true

  2   names and capacities are unknown to the Plaintiff. When their true names and
  3   capacities are ascertained, Plaintiff will amend this complaint by inserting their
  4   true names and capacities herein. Plaintiff is informed and believes and thereon
  5   alleges that each of the fictitiously named Defendants are responsible in some
  6   manner for the occurrences herein alleged, and that the harm to Plaintiff herein
  7
      alleged were proximately caused by those Defendants.
  8

  9
                                 JURISDICTION AND VENUE
 10
                    8.    This Court has jurisdiction over the subject matter of this action
 11
      pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for
 12
      violations of the ADA.
 13

 14
                    9.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

 15   based on the fact that the real property that is the subject of this action is located in
 16   this district and the Plaintiff’s causes of action arose in this district.
 17

 18                                 STATEMENT OF FACTS
 19                 10. Parking spaces, accessible aisles, paths of travel, signage,
 20   doorways, service counters, customer areas and goods/services are among the
 21
      facilities, privileges and advantages offered by the Defendants to patrons of the
 22
      Subject Property.
 23
                    11.    The Subject Property does not comply with the minimum
 24
      requirements of the ADA and is therefore not equally accessible to Plaintiff or
 25
      similarly situated persons with mobility disabilities.
 26
                    12.    In November, 2019 and continuously from that time to the
 27

 28                                             -3-
 29
                                      FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 4 of 14 Page ID #:45




  1
      Present, and currently, the Subject Property has not been in compliance with the

  2   ADA (the “Barriers”):
  3                      A.     The Subject Property lacks the minimum required
  4   number of ADA compliant accessible parking spaces.
  5                      B.     There was no diagonal striped marking and no blue
  6   border around where an access aisle is supposed to exist adjacent to any designated
  7
      accessible parking space(s) serving the Subject Property.
  8
                         C.     The designated “accessible” parking space(s) and/or blue
  9
      striped access aisles provided at the Subject Property are smaller than permitted by
 10
      the ADA.
 11
                         D.     The designated “accessible” parking spaces at the Subject
 12
      Property do not provide accessible parking signage as required by the ADA.
 13

 14
      Among other things, they fail toprovide tow-away signage and “Minimum Fine

 15   $250” signage as required by the ADA and state law to beposted near the
 16   designated accessible parking space(s).
 17                      E.     The designated “accessible” parking spaces at the Subject
 18   Property do not provide the universal symbol of accessibility.
 19                      F.     There is no twelve-inch high “NO PARKING” lettering
 20   on the blue-striped parking accessaisle(s) serving the Subject Property.
 21
                         G.     There was no designated “van accessible” parking space
 22
      with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
 23
      going forward into the parking space and no sign or additional language stating
 24
      “Van Accessible” below the symbol of accessibility located in a manner that is not
 25
      obstructed.
 26

 27

 28                                          -4-
 29
                                   FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 5 of 14 Page ID #:46




  1
                         H.     There were no accessible paths of travel from public

  2   transportations stops, accessible parking, public streets and sidewalks to the
  3   building entrances serving the Subject Property.
  4                      I.     The paths of travel and turning radiuses serving the
  5   interior of business locations at the Subject Property do not comply with the ADA
  6   because they provide unreasonably narrow paths of travel and turning radiuses.
  7
                         J.     The service counters, point of sale machines and/or self-
  8
      serve equipment serving the Subject Property are not within an operable reach
  9
      range.
 10
                   13.   Plaintiff personally encountered one or more of the Barriers
 11
      at the Subject Property in November, 2019.
 12
                   14.   From November, 2019 to the present, the Plaintiff has been
 13

 14
      deterred from the Subject Property because of his knowledge of the existence of

 15   Barriers.
 16                15.   The existence of Barriers, the implementation of discriminatory
 17   policies, practices and procedures, and other ADA violations at the Subject
 18   Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
 19   dissuaded or deterred Plaintiff from accessing the Subject Property on particular
 20   occasions between November, 2019 and the present.
 21
                   16.   Plaintiff would like to return and patronize the Subject Property
 22
      and use the business establishments thereat and intends to do so in the near future
 23
      but will be deterred from doing so until all ADA violations are remediated.
 24
                   17.   On information and belief, the remediation of violations
 25
      identified hereinabove, to be identified by the Defendants in discovery, and to be
 26
      discovered by Plaintiff’s experts are all readily achievable in that the removal of
 27

 28                                           -5-
 29
                                    FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 6 of 14 Page ID #:47




  1
      them by the Defendants is and has been easily accomplishable without much

  2   difficulty or expense.
  3                18.    Defendants violated the ADA by failing to remove all mobility-
  4   related architectural barriers at the Subject Property. On information and belief,
  5   Plaintiff alleges that the failure to remove barriers has been knowing, willful and
  6   intentional because the barriers described herein are clearly visible and tend to be
  7
      obvious even to a casual observer and because the Defendants operate the Subject
  8
      Property and have control over conditions thereat and as such they have, and have
  9
      had, the means and ability to make the necessary remediation of access barriers if
 10
      they had ever so intended.
 11
                   19.    On information and belief, access barriers at the Subject
 12
      Property are being consciously ignored by the Defendants; the Defendants have
 13

 14
      knowingly disregarded the ongoing duty to remove the Barriers in compliance with

 15   the ADA. Plaintiff further alleges on information and belief that there are other
 16   ADA violations and unlawful architectural barriers at the Subject Property that
 17   relate to Plaintiff’s mobility disability that will be determined in discovery, the
 18   remediation of which is required under the ADA.
 19                20.    Plaintiff hereby seeks to remediate and remove all barriers
 20   related to his disability, whether presently known or unknown. As the court held
 21
      in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):
 22
            “[W]here a disabled person has Article III standing to bring a claim for
 23         injunctive relief under the ADA because of at least one alleged statutory
 24         violation of which he or she has knowledge and which deters access to, or
            full use and enjoyment of, a place of public accommodation, he or she may
 25
            conduct discovery to determine what, if any, other barriers affecting his or
 26         her disability existed at the time he or she brought the claim. This list of
            barriers would then in total constitute the factual underpinnings of a single
 27
            legal injury, namely, the failure to remove architectural barriers in violation
 28                                            -6-
 29
                                     FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 7 of 14 Page ID #:48




  1
            of the ADA, which failure actually harmed the disabled person by deterring
            that disabled person from visiting a facility that otherwise would have been
  2         visited at a definite future time, yielding Article III standing.”
  3
                   21.    Even if strictly compliant barrier removal were determined to
  4

  5
      be structurally or otherwise impracticable, there are many alternative methods of

  6   providing accommodations that are readily apparent and that could provide a
  7   greater degree of accessibility to the Plaintiff and similarly situated persons but for
  8   the Defendants’ discriminatory policies, practices and procedures and Defendants’
  9   conscious indifference to their legal obligations and to the rights of persons with
 10   mobility disabilities. Defendants’ failure to implement reasonable available
 11   alternative methods of providing access violates the ADA [42 U.S.C. §
 12
      12182(b)(2)(A)(v)].
 13
                   22.    The violations and references to code sections herein are not
 14
      all-inclusive. Plaintiff will amend this complaint to provide a complete description
 15
      of the full scope of ADA violations after conducting a comprehensive expert site
 16
      inspection and other discovery. For the purposes of this Complaint, Plaintiff
 17
      asserts that the barriers alleged herein violate one or more of the ADA’s
 18

 19
      implementing regulations. The Defendants have maintained and continue to

 20   maintain discriminatory policies, procedures and practices that disregard their
 21   obligations under the ADA by allocating resources for physical improvements to
 22   the Subject Property that were did not provide legally required accessibility
 23   improvements, by failing to conduct ADA self-inspections or create ADA
 24   compliance plans regarding the Subject Property, by causing alterations to be made
 25
      to the Subject Property in disregard of ADA requirements, and for failing and
 26
      refusing to make necessary accommodations for persons with mobility disabilities
 27
      at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
 28                                           -7-
 29
                                    FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 8 of 14 Page ID #:49




  1
      rights compliance policies, procedures and practices are discriminatory and violate

  2   the ADA.
  3                             FIRST CAUSE OF ACTION
                               Discrimination Based on Disability
  4
                                  [42 U.S.C. §§ 12101, et seq.]
  5                            By Plaintiff against all Defendants
  6

  7                23.    Plaintiff re-alleges and incorporates by reference as though
  8   fully set forth herein the allegations contained in all prior paragraphs of this
  9   complaint.
 10                24.    The ADA obligates owners, operators, lessees and lessors of
 11   public accommodations to ensure that the privileges, advantages, accommodations,
 12
      facilities, goods and services are offered fully and equally to persons with
 13
      disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
 14
      12182(a)].
 15
                   25.    Discrimination is defined in the ADA, inter alia, as follows:
 16
                          A.     A failure to remove architectural barriers where such
 17
      removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
 18

 19
      barriers are identified and described in the Americans with Disabilities Act

 20   Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
 21                       B.     A failure to make alterations in such a manner that, to the
 22   maximum extent feasible, the altered portions of the facility are readily accessible
 23   to and usable by individuals with disabilities, including individuals who use
 24   wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
 25
      the altered area and the bathrooms, telephones, and drinking fountains serving the
 26
      altered area, are readily accessible to and usable by individuals with disabilities [42
 27
      U.S.C. § 12183(a)(2)].
 28                                            -8-
 29
                                     FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 9 of 14 Page ID #:50




  1
                         C.     Where an entity can demonstrate that the removal of a

  2   barrier is not readily achievable, a failure to make such goods, services, facilities,
  3   privileges, advantages, or accommodations available through alternative methods
  4   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
  5                      D.     A failure to make reasonable modifications in
  6   policies, practices, or procedures, when such modifications are necessary to afford
  7
      such goods, services, facilities, privileges, advantages, or accommodations to
  8
      individuals with disabilities, unless the entity can demonstrate that making such
  9
      modifications would fundamentally alter the nature of such goods, services,
 10
      facilities, privileges, advantages, or accommodations [42 U.S.C. §
 11
      12182(b)(2)(A)(ii)].
 12
                  26.    The ADA, the ADAAG’s 1991 Standards (the “1991
 13

 14
      Standards”) and 2010 Standards (the “2010 Standards”), and the California

 15   Building Code (the “CBC”) contain minimum standards that constitute legal
 16   requirements regarding wheelchair accessibility at places of public
 17   accommodation:
 18                      A.     If parking spaces are provided for self-parking by
 19   employees or visitors, or both, then the subject property must provide at least the
 20   minimum required number of accessible parking spaces.Accessible parking
 21
      spaces must be marked to define their width and must have an adjacent ADA
 22
      compliant access aisle. Accessible parking spaces must be at least 96 inches wide
 23
      and van parking spaces must be at least 132 inches wide except that van parking
 24
      spaces can be 96 inches wide where the access aisle is not less than 96 inches
 25
      wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
 26
      Subject Property does not comply with the ADA.
 27

 28                                           -9-
 29
                                    FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 10 of 14 Page ID #:51




  1
                          B.    To qualify as a reserved handicap parking space, the

  2    space must be properly marked and designated. Under the ADA, the method,
  3    color of marking and length of the parking space are to be addressed by state or
  4    local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
  5    and 503].
  6                       C.    To properly and effectively reserve a parking space for
  7
       persons with disabilities, each parking space must be at least 216 inches in length
  8
       [CBC § 11B-502.2].
  9
                          D.    Each parking space reserved for persons with disabilities
 10
       shall be identified by a reflectorized sign permanently posted immediately
 11
       adjacent to and visible from each stall or space, consisting of the International
 12
       Symbol of Accessibility in white on a dark blue background. The sign shall not be
 13

 14
       smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,

 15    shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
 16    the sign to the parking space finished grade. Signs may also be centered on the
 17    wall at the interior end of the parking space. An additional sign or additional
 18    language below the symbol of accessibility shall state "Minimum Fine $250"
 19    [2010 Standards § 502.6; CBC § 1129B.4].
 20                       E.    Signs identifying accessible parking spacesmust include
 21
       the International Symbol of Accessibility [2010 Standards §§ 502.6].
 22
                          F.    To properly and effectively reserve a parking space for
 23
       persons with disabilities, the surface of the access aisle must have a blue
 24
       border; the words “NO PARKING” in letters at least a foot high must be
 25
       painted on the access aisle [CBC § 1129B.3].
 26

 27

 28                                          -10-
  29
                                    FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 11 of 14 Page ID #:52




  1
                           G.     One in every eight accessible spaces, but not less than

  2    one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
  3    wide minimum placed on the side opposite the driver’s side when the vehicle is
  4    going forward into the parking space and shall be designated van accessible. Van
  5    accessible spaces must have an additional sign or additional language stating "Van
  6    Accessible" below the symbol of accessibility. Signs identifying accessible
  7
       parking spaces must be located so they cannot be obscured by a vehicle parked in
  8
       the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
  9
       and B4].
 10
                           H.     At least one accessible route must be provided from
 11
       public transportation stops, accessible parking, and accessible passenger
 12
       loading zones, and public streets or sidewalks to the accessible building
 13
       entrance they serve. The accessible route must, to the maximum extent
 14
       feasible, coincide with the route for the general public, must connect
 15
       accessible buildings, facilities, elements, and spaces that are on the same
 16
       site, and at least one accessible route must connect accessible building or
 17
       facility entrances with all accessible spaces and elements and with all
 18

 19
       accessible dwelling units within the building or facility [1991 Standards

 20    §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
 21                        I.     The minimum clear width of an accessible route is
 22    36 in (915 mm), except at where a person in a wheelchair must make a turn
 23    around an obstruction, in which case the minimum clear width of the
 24    accessible route is set forth in Figures 7(a) and 7(b) [1991 Standards § 4.3].
 25                        J.     In public accommodations where counters have cash
 26    registers or are provided for sales or distribution of goods or services to the public,
 27    at least one of each type of counter must have a portion that is at least 36 in
 28                                            -11-
  29
                                      FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 12 of 14 Page ID #:53




  1
       (915mm) in length with a maximum height of 36 in (915 mm) above the finished

  2    floor. The checkout counter surface height can be no more than 38 inches
  3    maximum above the finished floor or ground. The top of the counter edge
  4    protection can be up to 2 inches above the top of the counter surface on the
  5    aisle side of the checkout counter. Clear floor space that allows a forward
  6    or parallel approach by a person using a wheelchair must be provided at
  7    controls, dispensers, receptacles and other operable equipment [1991
  8    Standards §§ 7.1(1), 7.2, 4.27.2; 2010 Standards §§ 309.2, 902.3, 904.3.2 and
  9
       904.3.3].
 10
                   27.   The Defendants have failed to comply with minimum
 11
       ADA standards and have discriminated against Plaintiff on the basis of
 12
       Plaintiff’s mobility disability. Each of the barriers and accessibility
 13
       violations set forth above is readily achievable to remove, is the result of an
 14
       alteration that was completed without meeting minimum ADA standards,
 15
       or could be easily remediated by implementation of one or more available
 16
       alternative accommodations. Accordingly, the Defendants have violated
 17
       the ADA.
 18
                   28.   The Defendants are obligated to maintain in operable
 19
       working condition those features of the Subject Property’s facilities and
 20

 21
       equipment that are required to be readily accessible to and usable by

 22
       Plaintiff and similarly situated persons with disabilities [28 C.F.R. §

 23    36.211(a)]. The Defendants failure to ensure that accessible facilities at the
 24    Subject Property were available and ready to be used by the Plaintiff
 25    violates the ADA.
 26                29.   The Defendants have a duty to remove architectural
 27

 28                                         -12-
  29
                                   FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 13 of 14 Page ID #:54




  1
       barriers where readily achievable, to make alterations that are consistent

  2
       with minimum ADA standards and to provide alternative accommodations
  3    where necessary to provide wheelchair access. The Defendants benign
  4    neglect of these duties, together with their general apathy and indifference
  5    towards persons with disabilities, violates the ADA.
  6                 31.   The Defendants have an obligation to maintain policies,
  7    practices and procedures that do not discriminate against the Plaintiff and
  8    similarly situated persons with mobility disabilities on the basis of their
  9    disabilities. The Defendants have maintained and continue to maintain a policy of
 10    disregarding their obligations under the ADA, of allocating resources for
 11
       improvements insufficient to satisfy legal requirements regarding accessibility
 12
       improvements, of failing to conduct ADA self-inspections or create ADA
 13
       compliance plans, of causing alterations to be made to the Subject Property in
 14
       disregard of ADA requirements, and of failing and refusing to make necessary
 15
       accommodations for persons with mobility disabilities at the Subject Property, in
 16
       violation of the ADA.
 17
                    32.   The Defendants wrongful conduct is continuing in that
 18

 19
       Defendants continue to deny full, fair and equal access to their business

 20    establishment and full, fair and equal accommodations, advantages,
 21    facilities, privileges and services to Plaintiff as a disabled person due to
 22    Plaintiff’s disability. The foregoing conduct constitutes unlawful
 23    discrimination against the Plaintiff and other mobility disabled persons
 24    who, like the Plaintiff, will benefit from an order that the Defendants
 25    remove barriers and improve access by complying with minimum ADA
 26    standards.
 27

 28                                          -13-
  29
                                    FIRST AMENDED COMPLAINT

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Case 5:20-cv-01286-RSWL-SP Document 15 Filed 07/15/20 Page 14 of 14 Page ID #:55




  1
                                 PRAYER FOR RELIEF

  2
             Plaintiff prays to this Court for injunctive, declaratory and all other
  3    appropriate relief under the ADA, including but not limited to reasonable
  4    attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
  5    12205.
  6          Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
             not seek injunctive relief under the Disabled Persons Act at all.
  7

  8    Respectfully submitted,
  9
       Dated: 07/15/2020     LAW OFFICES OF ROSS CORNELL, APC
 10

 11
                                     By: /s/ Ross Cornell
 12                                      Ross Cornell, Esq.,
 13                                      Attorneys for Plaintiff,
                                         Bryan Estrada
 14

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 28                                         -14-
  29
                                   FIRST AMENDED COMPLAINT

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